                            IN THE UNTIED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION

                                         DOCKET NO: 3:95CR5-8


UNTIED STATES OF AMERICA


              vs.                                                   AMEND ORDER


BERNARD DONNELL SHERILL,
Defendant,

______________________________________________________________________________________
 AMEND DOCUMENT # 945 TO READ AS FOLLOWS:

THIS MATTER is before the Court on Defendant’s motion (Doc.# 940) for “reconsiderations” of sentence
pursuant to 18 U.S.C.§ 3582(c)(2) and the Reduced sentence based upon Amendment 782 guidelines.

The U. S. Probation Office is directed to prepare a Supplemental Presentence Investigation Report to determine
whether any retroactive Amendments to the U. S. Sentencing Guidelines have any affect on the Defendant’s
original Sentencing Guideline range.

IT IS SO ORDERED:

                                                   Signed: February 5, 2015




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